         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 1 of 35



                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      CRIMINAL NO. 17-00563-JD
                                               :
KENNETH SMUKLER

                    GOVERNMENT'S SENTENCING MEMORANDUM


       Defendant Kenneth Smukler, a longtime political operative based in the

Philadelphia area, and the owner-operator of several political consulting companies, including

InfoVoter Technology and Black and Blue Media, stands convicted of using his skills to

organize and lead two schemes by which he directed others in willfully defeating federal

campaign finance limits, and obstruction of justice in the campaign finance process administered

by the Federal Election Commission (“FEC”). Smukler’s crimes spanned two consecutive

election cycles in two separate campaigns for the United States House of Representatives.

       More specifically, the evidence at trial showed that defendant Smukler, a savvy 30-year

veteran of high-stakes political campaigns, repeatedly abused his position as a trusted political

consultant, to gain utterly unfair and illegal advantages for his clients, and to deprive voters and

the FEC of the information that could have exposed his schemes. Further, defendant Smukler’s

crimes were far from aberrant: the evidence at trial established that over and over again he hid

transfers of campaign money to disguise illegal political contributions and spending, causing the

falsification of records and documents inside of campaigns and at the FEC, all to influence the

outcome of congressional campaigns and further his influence as a political operative.

Moreover, when the FEC investigated his illegal conduct, he obstructed that federal inquiry to
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 2 of 35



maintain the illegal benefits he had obtained or provided for his clients, and to protect himself

from exposure. Accordingly, this Court should impose a significant sentence of incarceration

within the recommended Guidelines range. A sentence within that range will reflect the grave

seriousness of Smukler’s repeated, willful violations of the nation’s elections laws.

I.     LEGAL BACKGROUND

       The Third Circuit has set forth a three-step process for sentencing by district courts

following United States v. Booker, 543 U.S. 220 (2005):

       (1) Courts must continue to calculate a defendant’s Guidelines sentence precisely as they
       would have before Booker.

       (2) In doing so, they must formally rule on the motions of both parties and state on the
       record whether they are granting a departure and how that departure affects the
       Guidelines calculation, and take into account our Circuit's pre-Booker case law, which
       continues to have advisory force.

       (3) Finally, they are to exercise their discretion by considering the relevant § 3553(a)
       factors in setting the sentence they impose regardless whether it varies from the sentence
       calculated under the Guidelines.

United States v. Gunter, 462 F.3d 237, 247 (3d Cir. 2006) (quotation marks, brackets, and

citations omitted) (citing United States v. King, 454 F.3d 187, 194, 196 (3d Cir.

2006)). In calculating the guideline range, this Court must make findings pertinent to the

guideline calculation by applying the preponderance of the evidence standard, in the same

fashion as was employed prior to the Booker decision. United States v. Grier, 475 F.3d 556 (3d

Cir. 2007) (en banc).

       At the third step of the sentencing process, the Court must consider the advisory

guideline range along with all the pertinent considerations of sentencing outlined in 18 U.S.C.

§ 3553(a) in determining the final sentence. “The record must demonstrate the trial court gave

meaningful consideration to the § 3553(a) factors. . . . [A] rote statement of the § 3553(a) factors



                                                -2-
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 3 of 35



should not suffice if at sentencing either the defendant or the prosecution properly raises ‘a

ground of recognized legal merit (provided it has a factual basis)’ and the court fails to address

it.” United States v. Cooper, 437 F.3d 324, 329-30 (3d Cir. 2006) (citations omitted). See also

Rita v. United States, 551 U.S. 338, 356 (2007) (“The sentencing judge should set forth enough

to satisfy the appellate court that he has considered the parties’ arguments and has a reasoned

basis for exercising his own legal decision-making authority.”); United States v. Flores-Mejia, --

F.3d --, 2014 WL 3450938, *2 (3d Cir. 2014) (en banc) (“Failure to give ‘meaningful

consideration’ to any such argument renders a sentence procedurally unreasonable which, when

appealed, generally requires a remand for resentencing.”).

       Here, the sentence imposed must, most importantly, promote respect for the law and deter

others who would destroy confidence in the integrity of the electoral process by committing

similar offenses in pursuit of elected office and political power. See 18 U.S.C. § 3553(a)(2).

II.    FACTUAL BACKGROUND

       On December 3, 2018, a jury convicted defendant Smukler of nine counts in the

superseding indictment.

                                 Bob Brady for Congress Scheme

       In the 2012 Democratic primary election for Pennsylvania’s First Congressional District,

Jimmie Moore, a former Philadelphia Municipal Court Judge, ran against the incumbent, Robert

Brady. As the evidence demonstrated, and the jury found, Moore struck a quid pro quo deal by

which he agreed to withdraw from the race in exchange for funds from the Bob Brady for

Congress campaign to pay off Moore’s campaign debts. Those debts included money that

Jimmie Moore for Congress (the “Moore campaign”) owed to several vendors, to Moore himself,

and to Carolyn Cavaness, who was Moore’s campaign manager.



                                                -3-
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 4 of 35



       On February 29, 2012, Moore withdrew from the race. Moore and Cavaness

subsequently prepared a list of debts owed by the Moore campaign. The evidence established

that Moore provided a copy of this list to the defendant, and that the two sides agreed that the

Moore campaign would receive $90,000 from the Brady campaign. At a meeting to discuss the

transfer of funds, defendant Smukler told Moore that the $90,000 would be paid in three

installments: two payments from the defendant’s company disguised as the purchase of a poll (a

poll the Brady campaign already possessed), and one from another Brady operative, which was

disguised as a payment for consulting work purportedly done by Cavaness (which never

occurred).

       Bank records and testimony proved that three payments were made from the Brady

campaign to Cavaness concealed by transfers first to the defendant then to Donald “D.A.” Jones

(a fellow political consultant working on the Brady campaign and who was also involved in the

defendant’s separate, later scheme involving the Margolies campaign described below ) in the

months after Brady prevailed in the primary. The evidence at trial established not only that the

defendant met with Moore and directed the scheme, but also that he personally contacted

Cavaness to arrange both the payments and the fraudulent invoicing by Cavaness for bogus work

to conceal the true nature of the payments.

                         i.   First Unlawful Campaign Contribution

       The first payment was a June 11, 2012, check for $40,000 from the Brady campaign to

Voter Link Data Systems (“VLDS”), a political consulting company run by the defendant. On

July 13, 2012, the Brady campaign filed an FEC report stating that this payment was an




                                               -4-
           Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 5 of 35



expenditure to VLDS for “Survey and Polling Services.” 1 On June 13, 2012, two days after

receiving the money, VLDS wrote a check to Cavaness for $40,000, which she deposited in her

personal bank account. The subject line of the check falsely stated: “Poll,” though the purpose

was to pay Moore’s campaign debt. The defendant signed the check.

          Records showed that Cavaness used approximately half of the $40,000 to repay Moore a

portion of the money that Moore had lent his own campaign. Between June 18, 2012, and July 7,

2012, Cavaness wrote several checks to Moore, totaling $19,500. Each of these checks had the

word “reimbursement” written in the subject line. The rest of the funds from this first payment

remained in Cavaness’ personal bank account, as compensation for the Moore campaign’s debt

to her.

                             ii.    Second Unlawful Campaign Contribution

          On July 10, 2012, a month after the first payment, the Brady campaign wrote another

check to VLDS, this one for $25,000. The Brady campaign filed an FEC report on October 15,

2012, stating that this second payment was an expenditure to VLDS for “Acquisition of Cross

Tabs,” which are simply a derivative of responses in a poll readily generated from the raw data.

On July 17, 2012, one week after receiving the money from the Brady campaign, VLDS turned

around and wrote a check to Cavaness for $25,000, which she again deposited into her personal

bank account. The defendant also signed this check.

          Records and testimony established that Cavaness spent some of the VLDS money on

personal expenses for herself and Moore, in accord with the purpose of reimbursing campaign




1         In a legitimate transaction by a campaign acquiring a poll, the poll must be purchased from the owner because
transferring a poll is a contribution to the acquiring campaign. As a contribution, it must not come from a prohibited
source (like a corporation), and must further be within the contribution limits from any legal source. See generally 52
U.S.C. § 20101(8); https://www.fec.gov/help-candidates-and-committees/winding-down-candidate-campaign/sale-
campaign-assets/.

                                                        -5-
           Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 6 of 35



debt to them. Cavaness also used $13,000 of that money to open a bank account for CavaSense

and Associates (“CavaSense”). Testimony showed that the defendant instructed Moore to create

a shell company to receive the Brady campaign funds. As a result, and at Moore’s direction, in

accord with instruction from the defendant, Cavaness created CavaSense in June 2012.

Cavaness later used the funds in the CavaSense account to repay campaign vendors, including

herself. The sole purpose of CavaSense was to serve as a cut-out to receive and conceal the

Brady campaign funds funneled through the consulting companies run by the defendant and

Jones.

         Smukler himself told Cavaness to create an agreement and invoices for the “sale” of a

poll to VLDS by CavaSense. Per the defendant’s instructions, Cavaness created an agreement

stating that CavaSense would sell the rights to the 2011 poll—which CavaSense did not own—to

VLDS, as well as two invoices stating that VLDS would make two payments to CavaSense:

$40,000 for the poll itself and $25,000 for the cross-tabs associated with the poll. The jury

necessarily found that the purpose of these documents was to create a fake and concealing

justification for the transfer of funds from the Brady campaign, as discussed above.

         The jury necessarily found that the defendant, working with others, sought to disguise the

first and second payments from the Brady campaign as the purchase of a poll to conceal the fact

that Brady campaign funds had been used to pay his opponent’s debts. Moore commissioned the

poll at issue a year earlier, in February 2011, to analyze the primary match between himself and

Brady. However, witnesses and corroborating documents established that the Brady campaign

had already obtained the poll and the underlying data long before the defendant cooked up the

scheme to have the campaign supposedly purchase them from Cavaness. In other words, that

purchase took place in June 2012, over a month after Brady won the primary, and over three



                                                -6-
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 7 of 35



months after Moore, the opponent who was the subject of the poll, withdrew from the race.

Moreover, the Brady campaign purportedly purchased this poll (which it already had), for more

than twice the approximately $34,000 Moore originally paid for it in early 2011, at a time when

Moore was running and the information was actually relevant. This circumstance further

established that the entire transaction was a deliberate subterfuge to conceal an illegal

contribution from the defendant’s client to the Moore campaign.

                        iii.   Third Unlawful Campaign Contribution

       The third payment from the Brady campaign came on August 23, 2012, when the

campaign wrote a $25,000 check to D.A. Jones and Associates, a political consulting company

run by Jones. In its October 15, 2012 report filed with the FEC, the Brady campaign stated that

this payment was an expenditure to D.A. Jones and Associates for: “Consultant.” On August 30,

2012, one week after receiving the funds, D.A. Jones and Associates sent a $25,000 check to

CavaSense, with the word “consulting” in the memo line. Jones signed this check.

       Testimony at trial proved that Jones contacted Cavaness, and directed her to create an

invoice stating that D.A. Jones and Associates would pay CavaSense $25,000 for consulting

services. Jones testified that the defendant directed him to make the payment to Cavaness, even

though Jones knew very well that Cavaness had not done, and would never do, work justifying

the payment. Cavaness also testified that she never did any work for Jones or for the Brady

campaign; rather, the purpose of the invoice was simply to further disguise the third payment.

       Cavaness deposited this $25,000 check into the CavaSense account on September 4,

2012. On that same day, she wrote checks to several vendors owed money by the Moore

campaign, and she also wrote two checks to her personal account, in accord with the purpose of

reimbursing campaign debt to herself.



                                                -7-
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 8 of 35



       In sum, the trial evidence established beyond a reasonable doubt that between June 2012

and August 2012, the defendant caused the Brady campaign to transfer $90,000 to Cavaness and

her company for the benefit of the Moore campaign, and to satisfy its debts. Of that amount,

$21,000 was used to pay vendors owed money from the Moore campaign, and $19,500 was paid

to Moore in checks labeled as “reimbursement.” Cavaness and Moore spent the remainder of the

money on personal expenses.

       To conceal the scheme, none of the receipts by the Moore campaign from the Brady

campaign were reflected in the Moore campaign’s FEC filings in October 2012 and in June

2013. Indeed, as noted above, the Brady campaign’s FEC reports reflect only the payments to

the defendant and Jones, with no reference to Moore, Cavaness, or CavaSense.

       The evidence at trial established that the defendant and his co-conspirators sought to

disguise the fact that the Brady campaign illegally used campaign funds to pay an opponent to

withdraw from a race. In so doing, the defendant not only caused unlawful, excessive campaign

contributions, but also engaged in a falsification scheme with respect to administration of matters

before the FEC, namely the collection and publication of accurate information about the Moore

and Brady campaigns.

                                   The Marjorie 2014 Scheme

       Marjorie Margolies, a former Member of the United States House of Representatives, ran

in the 2014 Democratic primary election for Pennsylvania’s Thirteenth Congressional District.

Defendant Smukler directed her campaign committee, Marjorie 2014 (the “Margolies

campaign”), and he committed multiple crimes concealing the fact that he caused the Margolies

campaign to illegally spend general election funds in the primary election in his desperate,

unsuccessful effort to win the primary election for his candidate.



                                               -8-
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 9 of 35



       Bank records showed that, between June 1, 2013, and April 1, 2014, the Margolies

campaign paid a total of $210,750 to two of Smukler’s companies: Black and Blue Media

(“Black and Blue”) and InfoVoter Technologies (“InfoVoter”). The campaign’s FEC reports

listed these expenditures for the primary election. As discussed in more detail below, bank

records show that the defendant’s companies spent nearly $100,000 of the money received from

the Margolies campaign on payments for goods and services for the primary campaign.

       As the Court knows, federal law allows individuals to a make a contribution to a

particular campaign committee, up to a designated limit for each election in a cycle, which is

usually one primary and one general election. During the primary, campaigns are allowed to

accept contributions designated for the general election, so long as the general election

contributions are not spent on the primary campaign. If the candidate does not win the primary

election, the campaign must refund general election contributions received during the primary.

However, if the candidate does win the primary, the campaign is free to spend the general

election contributions on costs associated with the general election.

       The trial evidence established that, by early April 2014, however, the Margolies

campaign was running out of money that it could legally spend in the primary. Specifically, an

internal email proved that, on April 1, 2014, Smukler learned that the Margolies campaign had

only $142,939 in its bank account, but had received $143,477 in contributions designated for the

general election. In other words, the campaign could not spend any more money on primary

election expenses because all the money in the campaign bank account had to be set aside to

refund general election contributions in case Margolies lost the primary. This did not stop the

defendant.




                                               -9-
             Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 10 of 35



                        iv.   First Transaction: The $78,750 Payment

        As the primary campaign neared the finish line, the Margolies campaign’s lack of

primary election funds created an existential threat to the campaign. The defendant and the

campaign had planned to purchase television advertisements in the final weeks before the

primary, but there was no money legally available to do that. The defendant decided to fix that

illegally.

        Specifically, on April 29, 2014, the defendant emailed Jennifer May, Treasurer of the

Margolies campaign: “I will be wiring $78,750 of the segregated media account funds into the

campaign media account on may 1 . . . on may 2, will need to wire these funds out of campaign

to [the company producing the advertisement], along with $65,000 from the campaign account.”

Testimony at trial established that the defendant sent this email after counsel for the Margolies

campaign expressly advised the defendant not to make any further payments on primary election

expenses using campaign funds, and emphasized that the campaign was not permitted to spend

general election funds on primary election expenses. Moreover, there was no such thing as a

“segregated media account,” as the defendant well knew.

        Nevertheless, bank records show that on May 2, 2014, the defendant wired $78,750 from

his brokerage account to Black and Blue’s bank account, and, on May 5, 2014, wired the same

amount from Black and Blue’s bank account into a newly created bank account for the Margolies

campaign. The following day, the defendant wired $78,750 from the new campaign account to

the company producing the television advertisement. The evidence demonstrated that without

the $78,750 wire from the defendant’s brokerage account, Black and Blue would not have had

sufficient funds to cover the $78,750 wire to the campaign account.

        The defendant thus illegally injected $78,750 into the Margolies campaign to keep it



                                               - 10 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 11 of 35



alive. However, the defendant had no intent to absorb the cost of this crime. On May 6, the

defendant’s brother wired $75,000 to the defendant’s brokerage account. Testimony at trial

established that the defendant asked his brother, Andrew Smukler, for money specifically to

assist the Margolies campaign. In its campaign finance report filed with the FEC on July 15,

2014, the Margolies campaign, because of the defendant’s deliberately illegal actions, stated that

the $78,750 transfer from Black and Blue to the campaign account was “Refund of Media

Account.” Smukler caused May to prepare and sign this report. May designated this payment as

a “refund” based on the defendant’s representations to her. Had she known that the $78,750

came from the defendant’s brother rather than a “media account,” she would not have submitted

the false report to the FEC.

                         v.    Second and Third Transactions: The $78,750 Payment

       Internal emails proved that, in May 2014, the defendant continued to instruct May to use

campaign funds to pay for primary election expenses, notwithstanding May’s own warnings to

Smukler that the campaign had exhausted its primary funds, and that any further payments would

dip into general election funds.

       On May 20, 2014, Margolies lost the primary election. While the Margolies campaign

thus needed to refund general election contributions that it had received during the primary, the

evidence demonstrated that the campaign could not refund approximately $158,000 in general

election contributions because the campaign – at Smukler’s direction - had spent nearly all of

that money illegally on primary election expenses. In June 2014, May emailed the defendant

several times asking him whether candidate Margolies would agree to give money to the

campaign to make up this shortfall, which would have been a legal method to replenish the

general election funds needed for refunding contributors.



                                              - 11 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 12 of 35



       Smukler, however, had another illegal idea. On July 3, 2014, he emailed May to ask

“exactly what amount infovoter and blackblue need to return to the campaign to reconcile all

general fund contributions.” The defendant further stated, “I intend to transfer next week thx.”

On July 9, 2014, May wrote to Smukler: “We need Marjorie’s money in the account ASAP to

get the account positive. If it is not positive for the report due next week, we are all in really big

trouble. Please let me know when she’ll be putting in the money.” Four minutes later, the

defendant falsely responded: “The money will be transferred in the next couple days . . . the

campaign did not spend the general money as it was escrowed in infovoter and is being refunded

by infovoter to the campaign upon the demand of the campaign.” Testimony at trial confirmed

that this email from the defendant was the first time May heard anything about campaign funds

being “escrowed” in the defendant’s companies, which the evidence further showed to be a bald-

faced lie by the defendant to May.

       Specifically, bank records showed that, on the same day as the email exchange with May

described above, Kevin Morgan, a friend of the defendant, wired $150,000 to the defendant’s

brokerage account at the defendant’s request. Two days later, on July 11, 2014, the defendant

wired $110,000 from his brokerage account to InfoVoter, and wired $40,000 from that account

to Black and Blue. Without the $150,000 wire from Morgan, the defendant would not have been

able to fund the wires from his brokerage account to InfoVoter and Black and Blue. The

evidence also established that without the wires from the defendant’s brokerage accounts, the

defendant’s companies would not have been able to fund their wires to the campaign account.

       On July 14, 2014, the defendant wired $110,000 from InfoVoter and $40,000 from Black

and Blue to the Margolies campaign’s bank account. The campaign began to refund general

election contributions two days after receiving these wire transfers, which enabled the refunds



                                                - 12 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 13 of 35



concealing the fact that the general election funds had been illegally spent to give Margolies an

unfair advantage in the primary. In a campaign finance report filed with the FEC on October 15,

2014, the Margolies campaign falsely described the $40,000 transfer from Black and Blue as

“Refund of Media Account,” and the $110,000 transfer from InfoVoter as “Refund.” May

unwittingly signed the false report, and she testified that she made these entries based on the

information provided to her by the defendant in the emails described above.

       The evidence at trial demonstrated that between April 2014 and July 2014, the

defendant’s companies frantically and bogusly “refunded” the Margolies campaign a total of

$228,750, which was $18,000 more than the campaign had paid InfoVoter and Black and Blue in

the first place, and which was never truthfully a “refund” of at all.

                        vi.    FEC Proceedings

       In April 2014, one of Margolies’ primary opponents filed a complaint with the FEC,

correctly alleging that the Margolies campaign had spent general election funds on primary

election expenses. The complaint noted that the Margolies campaign’s FEC reports showed that,

in the first quarter of 2014, the campaign’s cash on hand was less than the sum of general

election contributions received.

       On July 22, 2014, the defendant caused counsel for the campaign, Karl Sandstrom, to

unwittingly write a false letter to the FEC arguing that the complaint should be dismissed. That

letter was based upon the defendant’s lies. In that letter, Sandstrom stated:

       The [Margolies campaign] agreed to advance a portion of [its general election]
       funds to its principal campaign vendors in order to secure their services, availability
       and commitment for the general election. The advanced funds would be available
       to pay for general election media and consulting expenses of the vendors. The
       funds were advanced on the condition that they would be refunded to the committee
       if the candidate did not secure the nomination. The vendors accepted the funds
       subject to this condition and have refunded the advanced payments to the
       committee.

                                                - 13 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 14 of 35




Sandstrom testified that these false representations came directly from the defendant to

Sandstrom. The defendant’s lies in Sandstrom’s letter were consistent with the Margolies

campaign’s FEC reports discussed above, which also falsely described the payments from the

defendant’s companies as “refunds,” and were also willfully caused by the defendant. Further,

both witness accounts and internal emails confirmed that the defendant reviewed a draft letter

from Sandstorm setting forth this false explanation before it was filed. The FEC subsequently

dismissed the complaint based upon the false representations made in Sandstrom’s letter

communicating Smukler’s lies.

        The jury found that the “refund” explanation concocted by the defendant and set forth in

Sandstrom’s letter, as well as in the Margolies campaign’s FEC reports, was entirely false. Bank

records and witness testimony at trial confirmed that the defendant’s companies spent nearly

$100,000 of the funds received from the campaign on the primary election—that is, for goods

and services provided to the campaign. The records from InfoVoter and Black and Blue show

that, other than the payments to vendors for those costs, the defendant used the remainder of the

funds that he received from the Margolies campaign, to pay miscellaneous expenses (like the

defendant’s credit card bills), or for transfers to the defendant’s personal bank account or the

accounts of his other companies. He did not hold the funds in any escrow, trust, segregated fund,

or the like.

        Because the defendant’s companies had already spent at least a portion of the money they

received from the campaign on the primary election, the payments from the companies to the

campaign could not be “refunds” of general election expenses. In addition, as discussed above,

those funds were not “escrowed,” and they did not come from a “segregated media account.”

Instead, the defendant’s payments to the campaign were funded by money he requested and

                                               - 14 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 15 of 35



received from his brother and his friend, which he well knew were illegal and excessive

campaign contributions, and which he concealed accordingly.

                        vii.   Fourth Transaction: The $2,600 Conduit Contribution

       On May 16, 2014, Jones received a $2,600 check from InfoVoter. The government’s

evidence establishes that this check was an illegal reimbursement for a $2,600 conduit

contribution that Jones made to the Margolies campaign in his wife’s name, at the express

direction of the defendant. Jones testified at trial that the defendant told Jones to make that

contribution and promised that Jones would be reimbursed for it.

                       viii.   Fifth Transaction: The $23,750 Conduit Contribution

       As discussed above, the defendant’s companies frantically “refunded” the Margolies

campaign $18,000 more than the companies had received from the campaign in the first place.

The FEC noticed this discrepancy, and, on March 4, 2015, sent a letter to May noting that the

“refunds” reported to InfoVoter on the campaign’s FEC reports “exceeded the payments made to

the vendor.” On March 31, 2015, at the defendant’s direction, May responded to the FEC by

email that this error was the result of a miscommunication, and had been remedied by a payment

of $18,000 from the campaign to InfoVoter.

       The campaign’s FEC reports showed that this $18,000 payment to InfoVoter put the

campaign back in debt. The evidence at trial further showed that to get the campaign out of

debt again, the defendant illegally provided Margolies herself with money to give to the

campaign. On June 30, 2015, several months after the $18,000 payment from the Margolies

campaign to InfoVoter, the defendant gave a $25,000 check from the defendant’s Black and

Blue account for deposit in Margolies’ personal bank account. On July 1, 2015, Margolies

transferred $23,750 from her personal bank account to the campaign account. Margolies



                                               - 15 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 16 of 35



testified that she followed the defendant’s instructions with respect to these payments, which

the defendant well knew accomplished an illegal and excessive contribution by him to her

campaign.

       On October 15, 2015, the Margolies campaign, because of the defendant’s

machinations, then filed a report with the FEC falsely characterizing the $23,750 payment as a

loan from Margolies to the campaign. As of the campaign’s last filing on December 31, 2017,

the so-called “loan” was still outstanding.

                       ix.     Smukler’s lies to the FBI

       Not content to merely fill campaign records with false statements, fill FEC reports with

false statements, and obstruct the FEC, Smukler further sought to deceive the FBI during the

criminal investigation as well. As demonstrated at trial, the FBI interviewed Smukler on March

21, 2017, while the agents executed a search warrant at his residence. In accord with the

concealment described above, Smukler falsely told the FBI that Black and Blue and InfoVoter

refunded money to the campaign that the companies had been “banking for the general”

election. Smukler said his companies “refunded” between $100,000 and $150,000. Smukler

said his companies “escrowed” funds for the general election, which were separate from the

funds used to pay for primary expenses.

       When was asked where he got the funds to make the payments to the campaign,

Smukler initially denied that he had received money from any outside source. When asked

specifically about his brother, Smukler admitted—as he had to admit -- that he had taken money

from his brother and a friend to fund the payments, but falsely claimed these were loans to his

companies to help with various business projects. Smukler also admitted that he used some of

the campaign funds received by his companies to pay for primary election expenses.



                                               - 16 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 17 of 35



       At one point in the interview, Smukler specifically admitted that he never told

Sandstrom about those payments. Nevertheless, Smukler repeatedly told the agents that he had

conferred with campaign counsel on the legality of the payments, invoking that counsel as

justification for his action, though he knew he had lied to counsel.

       With respect to the $25,000 payment to Margolies, Smukler initially and falsely told the

agents that he did not remember the purpose of the payment. Later in the interview, Smukler

admitted that he told Margolies that they could solve the problem of the $18,000 shortfall by

putting her on his payroll, and giving her the money to loan to the campaign. Smukler admitted

that he did not tell Sandstrom about the $25,000 payment.

       Smukler repeated his lies to the jury that found him guilty.

       The jury found that the defendant willfully caused excess contributions to the Margolies

campaign, made conduit (a/k/a straw) contributions to the Margolies campaign, caused the

Margolies campaign to maintain and file false reports with the FEC, made other false

statements to the FEC, and obstructed an FEC proceeding.

III.   SENTENCING CALCULATION

       A.      Statutory Maximum Sentence.

       The maximum statutory sentence the Court may impose on the defendant for each of the

felony counts of conviction, that is, conspiracy (Count One), excessive campaign contributions

(Counts Two and Seven), false statements (Count Five), false statements scheme (Count Six),

willfully causing a false statement to the FEC (Count Ten), and obstruction of justice (Count

Eleven), is five years’ imprisonment, a three-year period of supervised release, a $250,000 fine,

and a $100 special assessment.

       The maximum statutory sentence the Court may impose on Count Eight, charging



                                               - 17 -
          Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 18 of 35



misdemeanor conduit contribution, is one year of imprisonment, one year of supervised release, a

$100,000 fine, and a $50 special assessment. 18 U.S.C. § 3571(b)(4).

        The maximum statutory sentence the Court may impose on Count Nine, charging conduit

contribution over $10,000, is two years of imprisonment, one year of supervised release, a

mandatory $50,000 fine, and a $100 special assessment. 18 U.S.C. § 3571(b)(1); 52 U.S.C. §

30109(d)(1)(D)(2). 2

        B.       Sentencing Guidelines Calculation.

                 1.       The USSG Guideline Range

        The defendant’s advisory guideline range is calculated as follows. Pursuant to U.S.S.G.

§2C1.8, the base offense level for a violation of 52 U.S.C. § 30109(d)(1)(A)(i) is 8. The value of

the illegal transactions at issue was between $250,000 and $550,000, and therefore the offense

level is increased by 12 levels pursuant to U.S.S.G. §§2C1.8(b)(1) and 2B1.1(b)(1)(G). Because

Smukler occupied a position of trust in each campaign, he receives a 2-level increase. U.S.S.G.

§3B1.3. The defendant further obstructed justice by lying at trial, warranting a 2-level increase

pursuant to U.S.S.G. § 3B1.3.

                 2.       The Government’s Objection to the PSR Calculation

        The government respectfully submits that pursuant to the applicable sentencing

guidelines, defendant Smukler’s conduct warrants a further increase in the Adjusted Offense

Level because Smukler had an aggravating role in the offenses for which he was convicted.

Smukler’s criminal activity occurred over a period of years, involved two U.S. congressional

campaigns, used sophisticated means involving multiple financial institutions and transactions,



2        FECA provides a special fine provision for a two-year conduit felony offense. A special fine provision is
not authorized for a misdemeanor or five-year felony offenses.


                                                      - 18 -
          Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 19 of 35



and deployed elaborate deception techniques involving false documents. 3 As the mastermind

behind this conduct, he was the “organizer or leader” of criminal activity that was “otherwise

extensive.” 4 Pursuant to the application of U.S.S.G. §3B1.1(a), four levels should be added to

Smukler’s offense level, resulting in an Adjusted Offense level of 28.

         Application Note 4 to U.S.S.G. §3B1.1 states that:

         Factors the court should consider include the exercise of decision making authority, the
         nature of participation in the commission of the offense, the recruitment of accomplices,
         the claimed right to a larger share of the fruits of the crime, the degree of participation in
         planning or organizing the offense, the nature and scope of the illegal activity, and the
         degree of control and authority exercised over others. There can, of course, be more than
         one person who qualifies as a leader or organizer of a criminal association or conspiracy.
         This adjustment does not apply to a defendant who merely suggests committing the
         offense.

         Smukler both concocted and coordinated extensive, elaborate schemes with multiple

actors to violate the campaign finance laws.            In 2012, Smukler (aided and abetted by Jones,

Moore and Cavaness) caused the Brady campaign to make three contributions to the Moore

campaign in excess of the contribution limit: the June payment of $40,000 from VLDS to

Cavaness, the July payment of $25,000 from VLDS to Cavaness, and the August payment of

$25,000 from D.A. Jones to CavaSense. Each of these payments was secreted by the Brady




3 Smukler’s “companies” are always lurking in the background of his schemes. As discussed throughout this
memorandum, Smukler repeatedly used his business entities, which appear to be little more than shells, to commit
and hide campaign finance violations. Small wonder that Smukler reported during the preparation of his PSR that
he “recalled forming Black and Blue Media in ‘2008, 2009, or 2010,’ but has not been able to produce any business
records or tax returns showing the exact nature of this business or the income it generates.” PSR ¶ 96.
4 “In assessing whether an organization is ‘otherwise extensive,’ all persons involved during the course of the entire
offense are to be considered. Thus, a fraud that involved only three participants but used the unknowing services of
many outsiders could be considered extensive.” Application Note 3, U.S.S.G. §3B1.1

                                                        - 19 -
        Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 20 of 35



campaign through an intermediary, and each of these payments was hidden with false

documents.

       In 2014, Smukler employed sophisticated means to commit similar sophisticated offenses

in connection with a different campaign: the 2014 congressional primary campaign of Marjorie

Margolies. Smukler funneled three unlawful contributions to the campaign—a $78,750

contribution largely funded by his brother and two contributions totaling $150,000 funded by his

friend—through his political consulting companies. Smukler also made two straw contributions

to the campaign using his own money—a $23,750 contribution through the candidate and a

$2,600 contribution through another political consultant. And, Smukler caused the campaign to

make false statements to the Federal Election Commission to disguise these unlawful

contributions: three false statements on campaign finance reports and a false statement in a letter

to the FEC written by a lawyer for the campaign in response to a complaint filed by one of

Margolies’s opponents. In 2014, he used a number of his friends, family, colleagues and

subordinates – some witting and some unwitting – to both commit and hide his crimes.

Throughout both election cycles, Smukler was the ringmaster.

       Application Note 2 to U.S.S.G. §3B1.1 states that:

       To qualify for an adjustment under this section, the defendant must have been the
       organizer, leader, manager or supervisor of one or more participants. An upward
       departure may be warranted, however, in the case of a defendant who did not organize,
       lead, manage, or supervise another participant, but who nonetheless exercised
       management responsibility over the property, assets, or activities of a criminal
       organization.

       Here, Smukler’s managerial role in both campaigns cannot seriously be disputed, even if

factual analysis were somehow limited to his own testimony at trial.

       With the additional four levels, the U.S.S.G. recommended sentencing range should be

78-97 months incarceration. At the very least, Smukler should be assessed with a 3-level


                                              - 20 -
          Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 21 of 35



increase pursuant to §3B1.1(b) as he effectively ran both the Brady and Margolies campaigns on

behalf of the candidates. 5 As set forth more fully below, Smukler’s conduct warrants a

substantial term of imprisonment within the Guidelines range.

                 3.       Defense Objections to the PSR Calculation

        At the outset, for the reasons set forth in this memorandum in support of its sentencing

recommendation, the government objects to Smukler receiving any form of downward departure

or variance. The government has reviewed objections raised by defendant to the PSR, and

responds as follows.

                                  The Value of the Illegal Transactions

        The Probation Office has correctly calculated the 12-level increase under Sections

2C1.8(b)(1) and 2B1.1(b)(1)(G). Notwithstanding Smukler’s suggestion to the contrary, the

Specific Offense Characteristic relates to “the value of the illegal transactions” and makes no

mention of loss. U.S.S.G. § 2C1.8(b)(1) (emphasis added). The amount of loss sustained by the

Margolies campaign is entirely irrelevant here. The only loss worth mentioning here is the

incalculable loss of fair primary campaigns to the citizens of Philadelphia and the opponents of

Ms. Margolies. Rather, as the evidence presented at trial clearly established, the two schemes

together involved $345,100, and application of this adjustment is warranted.

                                         Abuse of Position of Trust

        Smukler has objected to the Probation Office’s determination that his guideline

calculation should include a two-level adjustment for his abuse of position of trust as the director

of the Margolies campaign. That objection is without merit.




5       In his own defense at trial, Smukler suggested that he attempted to shield both candidates from the
consequences of his leadership of their respective campaigns.

                                                      - 21 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 22 of 35



        Section 3B1.3 states that a two-level increase is warranted where, as here, “the defendant

abused a position of public or private trust . . . in a manner that significantly facilitated the

commission or concealment of the offense.” Application Note 1 further clarifies that a “position

of trust” is “characterized by professional or managerial discretion (i.e., substantial discretionary

judgment that is ordinarily given considerable deference).” The note also states that, for the

adjustment to apply, the position of trust “must have contributed in some significant way to

facilitating the commission or concealment of the offense.”

        To say that Smukler’s role on the Margolies campaign was characterized by “discretion”

would be a vast understatement. See United States v. Hodge, 259 F.3d 549, 556 (6th Cir. 2001)

(noting that the amount of discretion is the most important factor in determining whether a

defendant is in a position of trust). Indeed, various witnesses testified unequivocally that it was

Smukler who ran and controlled the campaign. And with this essentially unchecked authority,

Smukler was able not only to funnel money into the campaign and instruct subordinates like May

on how to characterize the payments in FEC reports, but also to direct Karl Sandstrom to include

false information in his letter to the FEC on behalf of the Margolies Campaign.

        Because Smukler occupied a position of trust, and used it to commit and conceal his

crimes, the Court should overrule his objection to Paragraph 60 and increase his guideline

sentence by two levels. See United States v. Blandford, 33 F.3d 685, 711 (6th Cir. 1994)

(finding adjustment for abuse of position of trust adjustment supported where the defendant

served as his own campaign treasurer); cf. United States v. Barrett, 178 F.3d 643, 646 (2d Cir.

1999) (noting that the adjustment has been applied to police officers, security guards, babysitters,

custodians, and truck drivers).




                                                 - 22 -
          Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 23 of 35



                                 Defendant’s Proposed USSG Calculation

         For the reasons above, the government disagrees with Smukler’s position that the

Adjusted Offense Level and Total Offense Level should be 16 for a mitigated role, with an

applicable guideline range of 21 to 27 months. As previously discussed, the government further

disagrees with the Probation Office’s determination against application of an upward role

adjustment pursuant to Section 3B1.1. Smukler’s conduct warrants a four-level increase for his

aggravating role in the offenses of which he was convicted, thereby resulting in an Adjusted

Offense Level and Total Offense Level of 28. The applicable sentencing guidelines range is thus

78 to 97 months’ incarceration.

IV.      18 U.S.C. § 3553(a) FACTORS

         This Court must also consider all of the sentencing considerations set forth in Section

3553(a). Those factors include: (1) the nature and circumstances of the offense and the history

and characteristics of the defendant; (2) the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment for the

offense; (3) the need to afford adequate deterrence to criminal conduct, and to protect the public

from further crimes of the defendant; (4) the need to provide the defendant with educational or

vocational training, medical care, or other correctional treatment in the most effective manner;

(5) the guidelines and policy statements issued by the Sentencing Commission; (6) the need to

avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct; and (7) the need to provide restitution to any victims of the

offense. 18 U.S.C. § 3553(a). 6



6        Further, the “parsimony provision” of Section 3553(a) states that “[t]he court shall impose a sentence
sufficient, but not greater than necessary, to comply with the purposes set forth in paragraph (2) of this subsection.”


                                                        - 23 -
          Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 24 of 35



         Here, the nature and seriousness of the offenses, which were carefully and deliberately

calculated to corrupt two federal primary elections, and the need to promote respect for the law

and afford adequate deterrence are especially weighty factors that require a significant period of

incarceration.

         A.       The nature and circumstances of the offense

         A significant sentence of incarceration squarely within the Guidelines is appropriate in

this case because of the nature and circumstances of Smukler’s crimes, which were neither

isolated nor the product of a single criminal choice. Smukler’s repeated commission of

campaign finance crimes across two congressional campaigns struck serious blows to the core

goal of the federal campaign finance laws: fairness in elections conducted within universal

limits and free of corrupt dealings.

         While many Americans, including other campaign consultants and professionals, who

desired a particular outcome to the elections knocked on doors, toiled at phone banks, or found

any number of other legal ways to make their voices heard, Smukler was not content with lawful

means, and sought to influence the elections on behalf of his candidates from the shadows. He

did so by orchestrating secret and illegal payments that in 2012 removed a candidate from the

race by a direct quid pro quo, and in 2014 disadvantaged his candidate’s opponents who were

playing by the rules and operating within the law. In the process, Smukler deceived the FEC and

the voting public in both election cycles by hiding facts that he believed would have exposed him

and had a substantial effect on the voters’ preferences.




The Third Circuit has held that “district judges are not required by the parsimony provision to routinely state that the
sentence imposed is the minimum sentence necessary to achieve the purposes set forth in § 3553(a)(2). . . . ‘[W]e do
not think that the “not greater than necessary” language requires as a general matter that a judge, having explained
why a sentence has been chosen, also explain why some lighter sentence is inadequate.’” United States v. Dragon,
471 F.3d 501, 506 (3d Cir. 2006) (quoting United States v. Navedo Concepcion, 450 F.3d 54, 58 (1st Cir. 2006)).

                                                        - 24 -
          Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 25 of 35



        It is these harms that Congress sought to prevent when it imposed contribution limits and

reporting requirements. Smukler subverted a process across two election cycles that Congress

has painstakingly sought to maintain as a guarantor of integrity and fairness in federal elections.

The sentence imposed should reflect the seriousness of Smukler’s arrogant violations of the

elections laws, and counter the public cynicism that arises when insiders like Smukler behave as

though the rules do not apply to him or his candidates, or will not be enforced. The voting public

needs to know that the electoral process belongs to them, and not cynical and deliberately

subversive operatives like Smukler.

        The sentence should also reflect the degree of willfulness and calculation by the

defendant, which place his offenses in the category most amenable to general deterrence of

others weighing similar schemes. Smukler demonstrated repeatedly that he knew exactly where

the lines are drawn separating legal conduct from willful criminality, and he crossed those lines

whenever it served his purposes. As a licensed attorney 7 with over 30 years’ of political

experience, and a history of political contributions, he was well-aware of the election laws. See

PSR ¶¶ 89, 90, 92, 93. Not only was Smukler aware of what he was doing, but he employed

sophisticated means to conceal his misconduct in layer upon layer of deception. Only a serious

sentence will deter such seriously designed and executed crimes.

        Worse, Smukler obstructed justice. As the jury necessarily found, Smukler caused

Margolies’ campaign attorney to make false statements in a letter to the FEC by withholding

from the lawyer key information about the payments from Smukler’s own companies to the

Margolies campaign. That in turn caused the campaign to send the letter to the FEC, after




7 Defendant is currently under administrative suspension according to the Disciplinary Board of the Supreme Court
of Pennsylvania. See PSR ¶ 90.

                                                     - 25 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 26 of 35



review by the defendant, which in turn caused the FEC to dismiss the complaint against

Margolies campaign by her opponent on the basis of the false representations in the letter.

       B.      History and characteristics of the defendant

       Even now, a cursory examination of Smukler’s PSR makes clear that the defendant is

experiencing no remorse. See PSR ¶¶ 47-48. It is well-settled that “lack of remorse is a fact that

a district court can consider in its evaluation of the § 3553(a) factors.” United States v. Sweat,

573 F. App’x 292, 298 (4th Cir. 2014); see also United States v. Keskes, 703 F.3d 1078, 1090-91

(7th Cir. 2013) (“A lack of remorse is a proper sentencing consideration ‘because it speaks to

traditional penological interests such as rehabilitation (an indifferent criminal isn’t ready to

reform) and deterrence (a remorseful criminal is less likely to return to his old ways).’” (citation

omitted); United States. v Mitchell, 681 F.3d 867, 884-85 (6th Cir. 2012 (bribery case;

distinguishing lack of remorse, where defendant persisted in denying his involvement following

jury verdict, from exercise of trial right); United States v. Cruzado-Laureano, 527 F.3d 231, 236-

37 (1st Cir. 2008) (rejecting argument that lack of remorse in § 3553 analysis was unfair “double

counting” where court also denied downward offense level adjustment for acceptance of

responsibility); United States Smith, 424 F.3d 992, 1016-17 (9th Cir. 2005) (approving district

court’s above-Guidelines sentence in a tax protestor fraud case based in part on defendant’s lack

of remorse). Here, the defendant’s lack of remorse is an aggravating factor that speaks poorly of

Smukler’s personal characteristics and potential for rehabilitation.

       Moreover, Smukler’s track record underscores his disdain for the campaign finance laws

and his contempt for the electoral process. As an operative for former U.S. Congressman Brady,

Smukler was no stranger to controversy or attempting to flaunt the law. Indeed, Smukler

relished his role as an accomplished political fixer, see PSR ¶ 100, and as reflected by the trial



                                                - 26 -
           Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 27 of 35



testimony of Jonathan Saidel, he attempted to use his status to bully others from the 2014 race

against Margolies.

         Nor was this Smukler’s first campaign finance violation. Smukler worked for Brady’s

2007 Democratic primary election campaign committee (“Brady mayoral campaign”). Local

authorities investigated and ultimately fined the Brady mayoral campaign for violating pertinent

campaign finance laws. In fact, during the campaign, Smukler’s conduct forced the Brady

mayoral campaign to fire Smukler when his conduct was uncovered and reported in the press.

As explained below, the lack of meaningful consequences no doubt contributed to Smukler’s

brazenness in 2012, and again in 2014. A light sanction here would only compound the lenity

extended to Smukler in 2007.

                     Ethics Board Investigation into Brady’s Mayoral Campaign

         In February 2007, the Board of Ethics of the City of Philadelphia (“Ethics Board”) began

an investigation into contributions received and expenditures made by the Brady mayoral

campaign in 2006 and 2007. 8 This investigation ultimately uncovered eighteen violations of city

campaign finance law by the campaign. Among these violations were allegations that Brady’s

congressional campaign committee paid two of Smukler’s consulting companies, VoterLink and

Black and Blue Media, at least $20,000 for work on the Brady mayoral campaign. 9 These

payments violated the contribution limits in the Philadelphia Election Code, and the Brady

mayoral campaign also failed to report the payments on its city campaign finance reports. See

Dkt. No. 121.




8       The Ethics Board is “charged with providing ethics training for all city employees and enforcing city
campaign finance, financial disclosure and conflict of interest laws.” It “has the authority to render advice, investigate
complaints and issue fines.” Ex. 1, ¶ A.
9       Smukler used these same business entities to commit violations alleged in the Superseding Indictment.

                                                         - 27 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 28 of 35



       In March 2009, well after Brady lost the primary race, the Brady mayoral campaign

admitted to these campaign finance violations (and the sixteen others) as part of a settlement

with the Ethics Board. Id.

               Smukler’s Forced Departure from Brady’s Mayoral Campaign

       In late April 2007, not long after the payments discussed above, the Brady mayoral

campaign fired Smukler, forcing him out after it was revealed that he coordinated the campaign’s

activities with a “527 group,” a purportedly independent, tax-exempt organization with a

political purpose. According to federal law, 527 groups are organized for “influencing or

attempting to influence the selection, nomination, election or appointment of any individual to

Federal, State, or local public office.” Title 26 U.S.C. § 527 exempts such organizations from

federal taxation. In 2007, the Brady campaign fired Smukler when it became public that he had

violated the state’s prohibition against coordination between independent expenditures by the so-

called “527” and his candidate’s political campaign. Although the Brady mayoral campaign

publicly distanced itself from Smukler and his misconduct, Smukler, the candidate, and the

candidate’s other operatives all understood that Smukler would be able to work for Brady again

in the future after the dust had settled. Dkt. No. 121 at 3.

       As a paid political consultant and experienced operative, Smukler has displayed nothing

but disdain for laws designed to give the public transparency in campaign finance. He is a

political gamester with a resume littered with examples of flaunting both the contribution limits

and disclosure requirements of the elections laws in his no-holds-barred, victory-at-all-costs

approach to political campaigns. Smukler repeatedly and deliberately used companies within his

personal control, in the Brady mayoral campaign, in the Moore campaign, and in the Margolies

campaign, to deceive regulators, political opponents, and the voting public in pursuit of electoral



                                                - 28 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 29 of 35



victories on behalf of his clients, in pursuit of his own power and influence in politics, and in the

(mistaken) belief that he could never be held accountable in a meaningful way.

       The local sanctions imposed on Smukler’s previous transgressions did not deter him. The

government urges the Court to impose a meaningful sanction that drives home to the defendant

and others who play fast-and-loose with campaign finance laws that the federal courts will not

tolerate such conduct.

       C.      The need for the sentence imposed to reflect the seriousness of the offense,
               to promote respect for the law, and to provide just punishment for the
               offense.

       It is difficult to overstate the seriousness of Smukler’s crimes given the unique position of

power and influence that Smukler exercised through his relationships with former Congressman

Brady and former Congresswoman Margolies. By his own account, Smukler exercised

tremendous influence in the political arena in and around Philadelphia. See generally PSR ¶¶ 93,

100. By his conduct, Smukler abused his position and betrayed the voting public. This Court

should impose a sentence that reflects the seriousness of Smukler’s willful disregard of the

election and campaign finance laws.

       D.      The need to afford adequate deterrence to criminal conduct, and to protect
               the public from further crimes of the defendant.

       The need for the sentence to promote respect for the law and to afford adequate

deterrence further supports the imposition of a significant period of incarceration. Congress

provided for strong criminal sanctions as a general deterrent to campaign finance violations.

Given the magnitude and brazenness of the conduct here, the interests of deterrence are best

served by imposition of a substantial term of imprisonment within the Guidelines range.

       Smukler’s years-long pattern of deception, and his attempts to minimize, distort, or

outright hide his conduct from the FEC, the FBI, the voting public, and even his colleagues and

                                                - 29 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 30 of 35



associates working at his direction on two congressional campaigns, make it evident that a

lengthy custodial sentence is necessary to deter him and others from future criminal misconduct

in the future. Certainly, Smukler has no prior convictions (as opposed to his prior misconduct),

and is well-educated and professionally successful. Generally, such characteristics suggest that a

defendant is ordinarily unlikely to re-offend in the future. But, where, as here, the nature

multitude, and temporal span of criminal behavior betray a man whose outlook on life was often

to cheat – an outlook that succeeded for some time – his professional history and lack of prior

convictions are not a mitigating factor. On the contrary, Smukler’s education, resources, and

opportunities should weigh in favor of holding him to a more exacting standard.

       For much the same reasons, the downward variance that Smukler is seeking would send

precisely the wrong message to the public. General deterrence is a significant factor. Campaign

finance crimes, because they are committed in secret and hidden from view, are difficult to

identify and prosecute. Nonetheless, violations of campaign finance laws have tremendous

social costs, as they erode faith in elections and perpetuate political corruption. Effective

deterrence of such offenses requires imprisonment that signals to the other individuals that they

cannot buy their way out of responsibility for the serious crimes proven before this Court.

Where the incidence of prosecution is lower because of the difficulty of detection, the level of

punishment must be higher to obtain the same level of deterrence. See generally, Louis Kaplow

and Steven Shavell, “Fairness Versus Welfare,” 114 Harv. L.Rev. 961, 1225-1303 (2001); see

also United States v. Hassebrock, 663 F.3d 9096, 922 (7th Cir. 2011) (affirming as reasonable a

within-Guidelines 32-month sentence of a tax evader when the district court explained that “a

sentence of probation would not promote respect for the law, but encourage people to flaunt it.”)

Indeed, in light of the public interest in this case, the Court’s sentence may indeed have a



                                               - 30 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 31 of 35



cognizable impact on deterring future candidates and their “fixers,” all of whom are sure to be

aware of the Court’s sentence here, from committing future violations of the campaign finance

laws.

        E.     The guidelines and policy statements issued by the Sentencing Commission
               and the need to provide the defendant with educational or vocational
               training, medical care, or other correctional treatment in the most effective
               manner.

        The government is aware of no training needs, vocational or otherwise, by Smukler. Nor

is the government aware of any Guideline policy statements that call for a downward variance

here based upon needs for educational or vocational training, or medical care. See PSR ¶¶ 83-90.

        F.     The need to avoid unwarranted sentence disparities.

        The most equitable way to ensure that the defendant’s sentence is arrived at by a fair and

objective calculation is by imposing a sentence within the guideline range. While the sentencing

guidelines are advisory, they remain the sole means available for assuring some measure of

uniformity in sentencing, fulfilling a key Congressional goal in adopting the Sentencing Reform

Act of 1984. Referring to the guidelines while carefully considering the § 3553(a) factors

particularly relevant to an individual defendant is the only available means of preventing the

disfavored result of basing sentences on the luck of the draw in judicial assignments. The Third

Circuit explained:

        Even under the current advisory system, district courts must “meaningfully consider” §
        3553(a)(4), i.e., “the applicable category of offense . . . as set forth in the guidelines.”
        The section of Booker that makes the Guidelines advisory explains that “the remaining
        system, while not the system Congress enacted, nonetheless continue[s] to move
        sentencing in Congress’ preferred direction, helping to avoid excessive sentencing
        disparities while maintaining flexibility sufficient to individualize sentences where
        necessary.” Booker, 543 U.S. at 264-65 (emphasis added). The Guidelines remain at the
        center of this effort to “avoid excessive sentencing disparities,” and, as the Booker Court
        explained, the Sentencing Commission will continue “to promote uniformity in the
        sentencing process through the Guidelines. Id. at 263. We have likewise observed that
        the “’Guidelines remain an essential tool in creating a fair and uniform sentencing regime


                                               - 31 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 32 of 35



       across the country.’” Cooper, 437 F.3d at 331 (quoting United States v. Mykytiuk, 415
       F.3d 606, 608 (7th Cir. 2005)).

       United States v. Ricks, 494 F.3d 394, 400 (3d Cir. 2007) (emphasis in original). The best

way to avoid sentencing disparity in this case is to consider a sentence within the advisory

guideline range and then sentence Smukler accordingly. As the United States District Judge

observed when pronouncing sentence upon Jay Odom in the Middle District of Florida after his

guilty plea to or violating 18 U.S.C. § 1001:

       The offense … goes to the very heart of our democratic system. If we cannot have faith
       and confidence in our election process, then we can't exist as a democracy.

       So it is a direct attack on the very basics of our system and is difficult. I'm disappointed
       to understand -- not that you, but others in writing on your behalf talked about how they
       didn't think there was anything wrong with it, that everybody does it, it's just one of those
       things that's part of the system.

       Well, I hope and pray that that is not the case, but it's necessary, of course, that this be
       dealt with considering the seriousness of the offense as well as that misunderstanding on
       behalf of apparently so very many people that it is in fact just a mistake that's done all the
       time with no consequences as a result.

       Well, the consequences, I'm sure, cannot be necessarily identified in every case or
       defined, but clearly it violates the system that we all cherish and respond to.


United States v. Odom, 3:12-cr-00076, Sentencing Tr., 2-3 (N.D. Fla. April 23, 2013)(imposing a

term of six months imprisonment and a $46,000 fine upon a guilty plea to one count of causing

false statements to the FEC under Section 1001). See also United States v. Bigica, 543 F. App'x

239 (3d Cir. 2013) (60 months imprisonment after guilty plea for tax evasion and conduit

contribution conspiracy).

       Therefore, in sum, all of the appropriate considerations of sentencing favor a sentence

that includes a lengthy period of incarceration within recommended advisory range. The

Supreme Court has declared: “As a matter of administration and to secure nationwide

consistency, the Guidelines should be the starting point and the initial benchmark.” Gall v.
                                                - 32 -
         Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 33 of 35



United States, 552 U.S. 38, 49 (2007). “These requirements mean that ‘[i]n the usual sentencing,

… the judge will use the Guidelines range as the starting point in the analysis and impose a

sentence within the range.” Peugh v. United States, 133 S. Ct. 2072, 2083 (2013) (quoting

Freeman v. United States, 131 S. Ct. 2685, 2692 (2011) (plurality opinion); ellipsis in original).

“Common sense indicates that in general, this system will steer district courts to more within-

Guidelines sentences.” Peugh, 133 S. Ct. at 2084. “The federal system adopts procedural

measures intended to make the Guidelines the lodestone of sentencing.” Id.

V.     RESTITUTION

       The government is unaware of any restitution obligation on the part of the defendant.

VI.     GOVERNMENT’S RECOMMENDATION

       After considering the factors of 18 U.S.C. § 3553(a), the government recommends a

significant sentence of imprisonment within the applicable sentencing Guidelines range.

Criminal FECA violations are an assault upon our democratic and electoral processes, and

therefore warrant significant penalties. Across the country, criminal violations of the election

laws have resulted in significant penalties for the offenders for that very reason. The serious

nature of Smukler’s criminal conduct warrants a substantial sentence of incarceration within the

applicable guidelines range. Moreover, the defendant’s significant personal wealth as detailed in

the PSR, enables to him to pay the substantial fine that he should receive as a further lesson to

him and others that these crimes, furthering careers in the lucrative profession of political

consulting, will not be allowed to pay.




                                               - 33 -
 Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 34 of 35




                             Respectfully submitted,

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                                     - 34 -
        Case 2:17-cr-00563-JD Document 185 Filed 04/26/19 Page 35 of 35



                               CERTIFICATE OF SERVICE

       I hereby certify that this Sentencing Memorandum has been served electronically on the

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DATED: April 26, 2019




                                            - 35 -
